                 Case 8:20-cv-00048-JVS-JDE     Document 46 Filed 05/07/20   Page 1 of 7 Page ID
                                                     #:3602

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          16
          17                           UNITED STATES DISTRICT COURT
                                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
          18                                SOUTHERN DIVISION
          19       MASIMO CORPORATION,                       CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
          20       CERCACOR LABORATORIES, INC.,
                   a Delaware corporation,                  SUPPLEMENTAL MEMORANDUM IN
          21
                                                            SUPPORT OF DEFENDANT APPLE
                                      Plaintiffs,
          22                                                INC.’S MOTION FOR PROTECTIVE
                         v.                                 ORDER BARRING TRADE SECRET-
          23
                                                            RELATED DISCOVERY ABSENT
                   APPLE INC.,
          24       a California corporation,                TRADE SECRET IDENTIFICATION
          25                          Defendant.             Hr’g Date/Time: May 21, 2020, at 10 a.m.
                                                             Courtroom:        6A
          26                                                 Judge:            Hon. John D. Early
                                                             Discovery Cutoff:       July 5, 2021
          27                                                 Pretrial Conference:    March 21, 2022
                                                             Trial:                  April 5, 2022
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                   MOT. FOR PROT. ORDER                               CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 46 Filed 05/07/20        Page 2 of 7 Page ID
                                                      #:3603

            1                                      I.    INTRODUCTION
            2            Plaintiffs allege that the Apple Watch incorporates their trade secrets, but five
            3      months after filing their complaint, and three weeks after Judge Selna stayed trade secret
            4      discovery pending compliance with Section 2019.210, Plaintiffs still have not described
            5      their alleged trade secrets. While Plaintiffs are stalling in identifying their own secrets,
            6      however, they continue to seek access to Apple’s confidential information. This is not
            7      the behavior of a company with a legitimate trade secret claim. To the contrary, it
            8      reflects Plaintiffs’ intent to concoct a trade secret claim based on Apple’s confidential
            9      information. This Court should stop Plaintiffs’ delay—and protect Apple’s confidential
          10       information until Plaintiffs comply with Section 2019.210—for three reasons:
          11             First, Plaintiffs argue that they may take discovery of Apple’s sensitive
          12       confidential information as part of their patent case because the discovery is not tied
          13       exclusively to their trade secret claim. But that is contrary to the plain language of
          14       Section 2019.210, which unequivocally bars discovery relating to the alleged trade
          15       secrets until Plaintiffs describe their alleged secrets. The information Plaintiffs seek in
          16       the RFPs here is identical to the information Plaintiffs allege as their trade secrets, and
          17       therefore the discovery is indisputably trade secret related.
          18             Second, Plaintiffs’ position erodes the policies promoted by Section 2019.210.
          19       Plaintiffs would have the Court allow them to parse through Apple’s confidential
          20       information—and claim it as their own trade secrets—before Plaintiffs describe a single
          21       one of their trade secrets. Plaintiffs also ask the Court to decide the scope of discovery
          22       without providing the disclosure designed to assist the Court in doing so.
          23             Third, Plaintiffs are wrong to contend that they can provide a Section 2019.210
          24       disclosure whenever they decide that discovery is trade secret-related. A trade secret
          25       claim is not an invitation to a buffet where Plaintiffs can pick and choose what discovery
          26       they want to take before providing a description of their own trade secrets.
          27             Apple has agreed to produce documents that relate solely to the patent claims.
          28       Plaintiffs must identify their trade secrets with reasonable particularity to get more.

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                   MOT. FOR PROT. ORDER                         1           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 46 Filed 05/07/20        Page 3 of 7 Page ID
                                                      #:3604

            1                                        II.    ARGUMENT
            2      A.    A Protective Order Is Warranted Under Section 2019.210.
            3            Section 2019.210—with which Plaintiffs already were ordered to comply—
            4      requires Plaintiffs to identify their trade secrets “before commencing discovery relating
            5      to the trade secret.” Cal. Code Civ. Proc. § 2019.210 (emphasis added). While Plaintiffs
            6      contend that their RFPs seek “patent discovery,” the RFPs also relate to Plaintiffs’
            7      CUTSA claim. Indeed, Plaintiffs’ RFPs use the identical language Plaintiffs use to
            8      allege their trade secrets in the FAC. For example, RFPs 12 through 14 seek, in part,
            9      “technical information,” “design review documents,” “technical specifications,”
          10       “technical drawings,” “product briefs,” “product plans,” “assembly design” documents,
          11       and “invention disclosures,” which are the exact same categories of information
          12       Plaintiffs allege constitute their trade secrets. Compare RFPs 12–14, with FAC ¶ 211.
          13             Plaintiffs nonetheless stall on the basis that Section 2019.210 applies only to
          14       discovery that relates solely to their CUTSA claim. There is no such limitation in the
          15       statute. This Court has recognized that “Section 2019.210 does not limit discovery
          16       ‘exclusively’ relating to the trade secrets. A request that relates to both trade secret and
          17       other issues still ‘relates to’ the trade secret.” M/A-COM Tech. Sols., Inc. v. Litrinium,
          18       Inc., 2019 WL 4284523, at *5 (C.D. Cal. June 11, 2019) (emphasis added).
          19             This is not the first time Plaintiffs have made this misguided argument. After
          20       Apple served its portion of the Joint Stipulation, Plaintiffs sought a ruling from Judge
          21       Selna that Section 2019.210 does not apply to the very same discovery at issue here. See
          22       ECF No. 33, at 13–14. Judge Selna ruled in Apple’s favor, “adopt[ing] patent specific
          23       dates” for discovery that do not begin until June 2020, and “stay[ing] the trade secret
          24       discovery only pending compliance with 2019.210.” ECF No. 37, at 1. Yet Plaintiffs
          25       still refuse to provide a trade secret disclosure, claiming that when Judge Selna ordered
          26       them to comply with Section 2019.210, he did not mean to stay trade secret-related
          27       discovery pending compliance, but instead intended to enable Plaintiffs to circumvent
          28       Section 2019.210 by claiming the RFPs are patent-related. In short, Plaintiffs’ reading

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                   MOT. FOR PROT. ORDER                         2           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE     Document 46 Filed 05/07/20       Page 4 of 7 Page ID
                                                     #:3605

            1      of Judge Selna’s Order is inconsistent with the statute with which they were ordered to
            2      comply. That simply makes no sense in light of the plain language of Section 2019.210.
            3            The cases Plaintiffs cite do not help their cause. In Loop AI Labs, Inc v. Gatti,
            4      2015 WL 9269758 (N.D. Cal. Dec. 21, 2015) (Joint Stip. at 33), the plaintiff’s non-
            5      CUTSA claims—unlike the patent claims here—did not cover the same technology as
            6      the CUTSA claim. Id. at *1–2, *4. Moreover, the plaintiff in Loop AI Labs was under
            7      court order to provide within 21 days a “thorough and complete” trade secret disclosure,
            8      which it could not amend in the future absent a showing of good cause. Id. at *4. Here,
            9      Plaintiffs have not even agreed on a date by which they will serve their disclosure.
          10             In Space Data Corp. v. X, 2017 WL 3007078 (N.D. Cal. July 14, 2017) (Joint
          11       Stip. at 31), unlike this case, the plaintiffs provided a Section 2019.210 disclosure and
          12       amended it prior to the order Plaintiffs cite. Joint Br. at 2, 2017 WL 3007078, ECF No.
          13       105. In Advanced Modular Sputtering, Inc. v. Superior Court, 132 Cal. App. 4th 826,
          14       831 (2005) (Joint Stip. at 30–31), the plaintiff had already served three Section 2019.210
          15       disclosures; Plaintiffs have not even served one.1 And here, unlike in Advanced
          16       Modular, the factual dependency of claims is not at issue—but rather the nature of
          17       specific RFPs. RFPs 5 through 25 seek discovery about the categories of information
          18       Plaintiffs claim as trade secrets. Plaintiffs must comply with Section 2019.210 to
          19       discover responsive, confidential documents. See E. & J. Gallo Winery v. Instituut Voor
          20       Landbouw-En Visserijonderzoek, 2018 WL 3062160, at *6 (E.D. Cal. June 19, 2018).2
          21             Moreover, Plaintiffs are wrong to argue that Apple’s position is that “all discovery
          22       concerning the accused products is barred because it is also relevant to trade secrets.”
          23
                    1
          24           In ScaleMP, Inc. v. TidalScale, Inc., No. 3:18-cv-04716-EDL, ECF No. 52, at 2 (Joint
                   Stip. at 31–32), the plaintiff likewise had already served a Section 2019.210 disclosure,
          25       as well as trade secret-identifying documents.
                    2
                       Plaintiffs cite a scheduling order (Joint Stip. at 32 (Brocade Commc’ns Sys., Inc. v.
          26       A10 Networks, Inc., No. 5:10-cv-03428-LHK, ECF No. 72 (N.D. Cal. Mar. 24, 2011))),
                   in which the court provided a general framework for future discovery but did not assess
          27       specific RFPs to determine whether they “relate to” a CUTSA claim—the issue before
                   this Court. Plaintiffs also cite Bryant v. Mattel, Inc., 2007 WL 5430888, at *4 n.3 (C.D.
          28       Cal. May 18, 2007) (Joint Stip. at 32–33), which merely addresses Section 2019.210 in
                   a footnote, and Apple has not found a single court that has relied on it.
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                   MOT. FOR PROT. ORDER                        3           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 46 Filed 05/07/20         Page 5 of 7 Page ID
                                                      #:3606

            1      Joint Stip. at 4. That is not Apple’s position. Nor has Apple “refuse[d] to produce any
            2      technical discovery.” Id. at 30. Apple has agreed to produce documents responsive to
            3      RFPs 1 through 4. Apple also has agreed to produce public documents responsive to
            4      RFPs 5 through 25. Apple merely requests that Plaintiffs provide a Section 2019.210
            5      disclosure before commencing confidential discovery “relating to” their CUTSA claim,
            6      as the text of the statute with which Judge Selna ordered compliance requires.
            7      B.    A Protective Order Promotes The Goals of Section 2019.210.
            8            Section 2019.210 promotes well-investigated claims and dissuades the filing of
            9      meritless trade secret complaints. Plaintiffs’ repeated delays in identifying their own
          10       trade secrets, while at the same time seeking Apple’s confidential information, is
          11       inconsistent with the conduct of a plaintiff with a serious trade secret claim. See
          12       Jobscience, Inc. v. CVPartners, Inc., 2014 WL 852477, at *5 (N.D. Cal. Feb. 28, 2014)
          13       (“A true trade secret plaintiff ought to be able to identify, up front, and with specificity
          14       the particulars of the trade secrets without any discovery.”).
          15             Section 2019.210 also prevents plaintiffs from using the discovery process to
          16       obtain the defendant’s trade secrets. Yet that is exactly what Plaintiffs are doing here
          17       after Plaintiffs not only served a subpoena on Apple in the related True Wearables action
          18       without first complying with Section 2019.210, but also demanded that Apple disclose
          19       all unpublished patent applications listing any previous employee of Plaintiffs as an
          20       inventor even though California rejects the inevitable disclosure doctrine. If Plaintiffs
          21       are permitted to proceed without a disclosure, they will be able to review Apple’s
          22       confidential information and claim it as their own. Id. (“[I]t is easy to allege theft of
          23       trade secrets with vagueness, then take discovery into the defendants’ files, and then
          24       cleverly specify what ever happens to be there as having been . . . stolen from
          25       plaintiff.”). Plaintiffs also will be able to use information obtained in discovery to craft
          26       their disclosure, which again defeats the purpose of the statute. Gabriel Techs. Corp. v.
          27       Qualcomm, Inc., 2011 WL 6152240 (S.D. Cal. Dec. 12, 2011), ECF No. 178, at 12–13
          28       (plaintiff used discovery relating to other claims “to expand the scope of its trade secret

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                   MOT. FOR PROT. ORDER                         4           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 46 Filed 05/07/20        Page 6 of 7 Page ID
                                                      #:3607

            1      to cover [defendant’s] technology”). What is worse, Plaintiffs apparently would have
            2      the same firm or lawyers review Apple’s confidential information and draft Plaintiffs’
            3      trade secret disclosure. Jardin v. DATAllegro, Inc., 2011 WL 3299395, at *5 (S.D. Cal.
            4      July 29, 2011) (ordering “temporary ethical wall” because counsel “could not divorce
            5      themselves from their knowledge of Defendants’ confidential material”).
            6            Finally, Section 2019.210 assists the court in framing the scope of discovery.
            7      Although there is no serious dispute that Plaintiffs’ RFPs 5 through 25 relate to their
            8      CUTSA claim, Plaintiffs are withholding the disclosure that would end the debate.
            9      C.    Plaintiffs Must Promptly Serve A Section 2019.210 Disclosure.
          10             There is no excuse for Plaintiffs’ delay. Plaintiffs presumably had a Rule 11 basis
          11       for filing their CUTSA claim as well as their repeated threats of a preliminary injunction.
          12       At least some of the purported trade secrets are allegedly public in published patent
          13       applications.3 Furthermore, Plaintiffs argued that they could have described their
          14       purported trade secrets in response to an interrogatory months ago. Apple already has
          15       offered to treat the disclosure—which, unlike a document produced in discovery, is
          16       treated like a pleading—as attorneys’ eyes only pending resolution of any issues relating
          17       to the stipulated protective order. Therefore, if Plaintiffs have a valid trade secret claim,
          18       they should have no trouble producing a Section 2019.210 disclosure now. That
          19       Plaintiffs continue to stall cuts against any reason to believe there is a valid CUTSA
          20       claim here. The Court should order Plaintiffs to serve their disclosure by May 28, 2020.
          21                                         III.   CONCLUSION
          22             Apple requests that the Court (1) enter a protective order against discovery of non-
          23       public documents responsive to Plaintiffs’ RFPs 5 through 25 until Plaintiffs comply
          24       with Section 2019.210, and (2) order Plaintiffs to serve a Section 2019.210 disclosure
          25       by May 28, 2020, that includes each of the elements identified in ECF No. 43-1, at 28.
          26
          27        3
                      Plaintiffs’ suggestion that the alleged secrets in these published applications remain
                   secret is contrary to decades of case law. See, e.g., Henry Hope X–Ray Prods., Inc. v.
          28       Marron Carrel, Inc., 674 F.2d 1336, 1342 (9th Cir. 1982) (“Matters disclosed in a patent
                   publication destroy any trade secret contained therein.”).
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                   MOT. FOR PROT. ORDER                         5            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE   Document 46 Filed 05/07/20   Page 7 of 7 Page ID
                                                   #:3608

            1      Dated: May 7, 2020                 Respectfully submitted,
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                   MOT. FOR PROT. ORDER                   6          CASE NO. 8:20-cv-00048-JVS (JDEX)
